    Case 7:19-cv-01362-VB-JCM          Document 151       Filed 06/06/25     Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CLINT EDWARDS,

                                 Plaintiff,

                         v.
                                                          19 CV 1362 (VB)
 WESTCHESTER COUNTY; DEPARTMENT OF
 CORRECTION; ASSISTANT WARDEN ERIC                        NOTICE OF APPEARANCE
 MIDDLETOWN; CORRECTION CAPT.
 ROBERTS; CAPTAIN VAN LIEROP; C.O.
 AROCHO; C.O. SERGEANT GRANT; and C.O.
 SERGEANT LOPEZ,

                                 Defendants.

                               NOTICE OF APPEARANCE

       Please take notice that Robert Y. Sperling of Paul, Weiss, Rifkind, Wharton & Garrison

LLP hereby enters his appearance as counsel in the above-captioned action for Plaintiff Clint

Edwards and requests that all future correspondence and papers be served upon the undersigned.



Dated: June 6, 2025                            Respectfully submitted,


                                               /s/ Robert Y. Sperling

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